           Case 1:17-cv-00125-WS-B Document 83 Filed 01/24/18 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION


ANASTASIA P. DIEHL,                             )
                                                )
      Plaintiff,                                )
                                                )
vs.                                             )        Case No. 1:17-CV-00125-WS-B
                                                )
THE MONEY SOURCE INC., et al.,                  )
                                                )
      Defendants.                               )

                        QUALIFIED HIPAA PROTECTIVE ORDER

         The parties are hereby granted the right, upon compliance with the applicable discovery

provisions of the Federal Rules of Civil Procedure and the orders of this court, to obtain from

any health care provider, health plan, or other entity covered by the Health Insurance Portability

and Accountability Act of 1996, Pub. L. No. 104-191, 110 Stat. 1936 (1996) (“HIPAA”), any

and all information relating to the past, present, or future medical condition of any individual

who is a party to this action (or the decedent or ward of a party who sues in a representative

capacity), as well as any and all information relating to the provision of health care to such

individual and payment for the provision of such health care.

         This Order authorizes any third-party who is provided with a subpoena requesting the

production of documents or commanding attendance at deposition or trial to disclose the

Protected Health Information in response to such request or subpoena. This Order is intended to

authorize such disclosures under the privacy regulations issued pursuant to HIPAA. 45 C.F.R. §

164.512(e)(1)(i).
        Case 1:17-cv-00125-WS-B Document 83 Filed 01/24/18 Page 2 of 2



       The parties are expressly prohibited from using or disclosing the protected health

information obtained pursuant to this order for any purpose other than this action. Further, the

parties are ordered to either return to the covered entity from whom or which such protected

health information was obtained, or to destroy the protected health information (including all

copies made), immediately upon conclusion of this action.          See 45 C.F.R. §§ 163.502(b);

164.512(e)(1)(v).

       A photocopy of this order shall be deemed as an original.

       SO ORDERED this 24th day of January, 2018.

                                           /s/ Sonja F. Bivins
                                  UNITED STATES MAGISTRATE JUDGE




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